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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 21-MJ-423
CHRISTOPHER WARNAGIRIS, : VIOLATIONS:
: 180U.S.C. § 231(a)(3)
Defendant. : (Civil Disorder)

: «=©18 U.S.C. § 1512(c)(2),2 -

: (Obstruction of an Official Proceeding)

: 18 U.S.C. §§ 111(a)(1)

:  (Assaulting, Resisting, or Impeding

: Certain Officers)

: 180U.S.C. § 1752(a)(1)

: (Entering and Remaining in a Restricted
Building or Grounds)
18 U.S.C. § 1752(a)(2)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)
18 U.S.C. § 1752(a)(4)
(Engaging in Physical Violence in a
Restricted Building or Grounds)

: 400U.S.C. § 5104(e)(2)(D)

: (Disorderly Conduct in a Capitol Building)

: 40U.S.C. § 5104(e)(2)(F)

: (Act of Physical Violence in the Capitol

: Grounds or Buildings)

: 40U.S.C. § 5104(e)(2)(G)
(Parading, Demonstrating, or Picketing in a
Capitol Building)

INDICTMENT

The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia, CHRISTOPHER

WARNAGIRIS, committed and attempted to commit an act to obstruct, impede, and interfere
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with a law enforcement officer, that is, Officer A.W., an officer from the United States Capitol
Police, lawfully engaged in the lawful performance of his official duties incident to and during the
commission of a civil disorder, and the civil disorder obstructed, delayed, and adversely affected
the conduct and performance of a federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO

On or about January 6, 2021, within the District of Columbia and elsewhere,
CHRISTOPHER WARNAGIRIS, attempted to, and did, corruptly obstruct, influence, and
impede an official proceeding, that is, a proceeding before Congress, specifically, Congress’s
certification of the Electoral College vote as set out in the Twelfth Amendment of the Constitution
of the United States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT THREE

On or about January 6, 2021, within the District of Columbia, CHRISTOPHER
WARNAGIRIS, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, and
inflict bodily injury on, an officer and employee of the United States, and of any branch of the
United States Government (including any member of the uniformed services), and any person
assisting such an officer and employee, that is, A.W., an officer from the United States Capitol
Police Department, while such officer or employee was engaged in or on account of the
performance of official duties, and where the acts in violation of this section involve physical
contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers in violation of Title 18, United
States Code, Sections 111(a)(1))
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COUNT FOUR
On or about January 6, 2021, within the District of Columbia, CHRISTOPHER
WARNAGIRIS, did knowingly enter and remain in a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President and Vice President-elect were temporarily visiting, without
lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT FIVE

On or about January 6, 2021, within the District of Columbia, CHRISTOPHER
WARNAGIRIS, did knowingly, and with intent to impede and disrupt the orderly conduct of
Government business and official functions, engage in disorderly and disruptive conduct in and
within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
and Vice President-elect were temporarily visiting, when and so that such conduct did in fact
impede and disrupt the orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT SIX
On or about January 6, 2021, within the District of Columbia, CHRISTOPHER
WARNAGIRIS, did knowingly, engage in any act of physical violence against any person and

property in a restricted building and grounds, that is, any posted, cordoned-off, and otherwise
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restricted area within the United States Capitol and its grounds, where the Vice President and Vice
President-elect were temporarily visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))

COUNT SEVEN
On or about January 6, 2021, within the District of Columbia, CHRISTOPHER
WARNAGIRIS, willfully and knowingly engaged in disorderly and disruptive conduct within the
United States Capitol Grounds and in any of the Capitol Buildings with the intent to impede,
disrupt, and disturb the orderly conduct of a session of Congress and either House of Congress,
and the orderly conduct in that building of a hearing before or any deliberation of, a committee of
Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, CHRISTOPHER
WARNAGIRIS, willfully and knowingly engaged in an act of physical violence within the United
States Capitol Grounds.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))
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COUNT NINE

On or about January 6, 2021, within the District of Columbia, CHRISTOPHER
WARNAGIRIS, willfully and knowingly paraded, demonstrated, and picketed in any United
States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

Oa Rif

Attorney of the United States in
and for the District of Columbia.
